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 1
                                  CERTIFICATE OF SERVICE
 2
           The undersigned certifies that on November 22, 2017, a true and correct copy of the
 3
     following documents were electronically filed and served on all counsel of record who are
 4
     deemed to have consented to electronic service via the Court’s CM-ECF system:
 5

 6      NOTICE OF MOTION AND UNOPPOSED MOTION FOR PRELIMINARY
 7    APPROVAL OF SETTLEMENT AND PROVISIONAL CLASS CERTIFICATION
 8        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
 9     UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT
                  AND PROVISIONAL CLASS CERTIFICATION
10

11     DECLARATION OF TODD D. CARPENTER IN SUPPORT OF UNOPPOSED
         MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT AND
12      PROVISIONAL CLASS CERTIFICATION AND EXHIBIT 1 ATTACHED
13                             THERETO
14
           Pursuant to the CM-ECF system, registration as a CM-ECF user constitutes consent
15
     to electronic service through the Court’s transmission facilities. Any other counsel of record
16
     will be served by electronic mail and U.S. mail.
17

18   Dated: November 22, 2017                      CARLSON LYNCH SWEET
19                                                 KILPELA & CARPENTER LLP
20                                                 By: /s/Todd D. Carpenter
21                                                 Todd D. Carpenter
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                                                                    Case No. 3:16-CV-370-GPC-JMA
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